Case: 3:20-cv-00249-wmc Document #: 3-4 Filed: 03/18/20 Page 1 of 6




                 Exhibit 3
3/18/2020                            Madison Public Library
                      Case: 3:20-cv-00249-wmc               Closing in Response
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                                                                                 COVID-19 | Madison Public
                                                                                       03/18/20       Page Library
                                                                                                               2 of 6




                        All Madison Public Libraries are closed beginning March 17.
               Visit our Coronavirus Information (/coronavirus) page for news and updates.




                                                                                            Type your search and hit go!


                                                                                            Search LINKcat (catalog)       Go
                                                      (/)

    Home (/) > New (/new)



    Madison Public Library Closing in Response
    to COVID-19
    Library Patrons,

    Thank you all for your support and patience during this
    unprecedented time as we continue to evaluate the
    situation related to the novel coronavirus (COVID-19)
    outbreak. The safety of our staff, volunteers, partners and community is our highest
    priority. As a cautionary measure, we are closing our libraries to the public beginning
    March 17.

    CLOSURE INFORMATION
    All Madison Public Library locations and administrative offices are closed to the
    public beginning March 17.
    In addition, all Madison Public Library programs, classes, story times, book clubs,
    meetings, and events will be cancelled beginning March 17. This includes all
    community meetings and events.
    We do not have an expected reopening date at this time, but we will continue to
    provide updates in consultation with the City of Madison, Madison Public Library
    Board, Public Health Madison & Dane County, and South Central Library System.

https://www.madisonpubliclibrary.org/new/madison-public-library-closing-response-covid-19                                       1/5
3/18/2020                      Madison Public Library
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    This decision was not made lightly. We know our libraries are critical resources for
    information and internet access, voter registration
    (https://cityofmadison.com/clerk/elections-voting/voter-registration), in-person
    absentee voting (https://cityofmadison.com/clerk/elections-voting/voting/vote-
    absentee/in-person-absentee-voting-hours-and-locations), distance education, youth
    literacy, and connections to other government resources such as the 2020 census
    (https://www.cityofmadison.com/dpced/planning/census-2020/441/). However, as we
    are part of the local and global community, it is important to understand that this is the
    time to discourage public gatherings. We take our responsibility for the health and well-
    being of our community seriously. We are all working together to stay healthy.
    Minimizing social contacts will help slow the spread of this virus.


    We understand that developments regarding COVID-19 are changing frequently. As
    things change, we will continue to update you on our website
    (https://www.madisonpubliclibrary.org), and via email and social media, and we urge
    you to follow news and directives from Public Health Madison & Dane County at
    publichealthmdc.com (http://www.publichealthmdc.com)
    Library book drops will be closed, and customers are urged to keep library materials
    until libraries reopen. Due dates of checked out materials will be extended, and holds
    will be retained at libraries until libraries reopen. The library's databases, online
    magazines, and newspapers
    (https://www.madisonpubliclibrary.org/resources/eresources?rtype%5B1%5D=1)and
    downloadable audiobooks and eBooks (https://wplc.overdrive.com/) are also accessible
    24/7 with a library card. More detail is forthcoming regarding the service closures,
    including book drop availability, extension of library due dates, alternate delivery of
    some services, and availability of libraries as absentee voting sites.

    We are thankful to you - our library patrons – for your continued understanding and
    support, and encourage you to keep yourselves and your families, friends, and
    neighbors safe by following Public Health Madison & Dane County
    (https://www.publichealthmdc.com/coronavirus) guidelines.


    Greg Mickells, Library Director
    Madison Public Library
    Posted by Greg M on Mar 16, 2020

        What's New?

        Check It Out (/new)
https://www.madisonpubliclibrary.org/new/madison-public-library-closing-response-covid-19                         2/5
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        In the Galleries (/new/in-the-galleries)

        Events on Check It Out (/new/events)

        All Events (/events-and-classes)




      (https://launcher.linkcat.info/go.cgi)

             My Account (https://mpl.linkcat.info/app/me/dashboard)

             Search LINKcat (https://mpl.linkcat.info/app/search)
            LINKcat Help (/linkcat)

            Hours & Locations (/locations)
            Library Cards (/library-cards)

            Kids (/kids)
            Teens (/teens)

            Adults (/adults)
            Research & Resources (/resources)

            Books / Music / Film (/reading-and-viewing)
            eBooks (/reading-and-viewing/ebooks)

            Events & Classes (/events)
            Special Events (/special-events)

            About the Library (/about)
            IMPACT Stories (/impact)

            Support the Library (/support)

            The Bubbler (http://madisonbubbler.org/)

            MPL Foundation (https://mplfoundation.org/)
            Insider Newsletters (/reading-and-viewing/insider)




            (https://www.cityofmadison.com/)



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                           © 2013-2020
                           Madison Public Library
                           201 W. Mifflin St.
                           Madison, WI 53703
                           608-266-6300
                           madtech@madisonpubliclibrary.org
            (mailto:madtech@madisonpubliclibrary.org)

            Madison Public Library (https://www.madisonpubliclibrary.org/) is an agency of the City of
            Madison (https://www.cityofmadison.com/) and a member of the South Central Library
            System (http://www.scls.info/)


                                                         (https://www.imls.gov/news-events/news-

            releases/ten-winners-nations-highest-museum-and-library-honor-announced)

                            (https://twitter.com/madisonlibrary)
                                  (https://www.facebook.com/MadisonPublicLibrary)
                                        (https://www.facebook.com/BibliotecaPublicaDeMadison)
                                             (https://www.instagram.com/madisonpubliclibrary/)
                                             (https://www.flickr.com/photos/madison-public-
                                             library)

            POPULAR SERVICES (/services)
            reserve a computer (http://mypc.scls.info/Login.aspx)
            check your email (/services/email)
            recommend a purchase (/recommendation-for-purchase)
            outerlibrary loan (/resources/resources/services/outerlibrary-loan/form)
            ask a librarian (/research/ask)
            computing and wireless (/services/computers)
            reserve meeting rooms (/services/meeting-rooms)
            email newsletters (/insider)


            EVENTS AND CLASSES (/events)
            book discussions (/special-series/upcoming-book-discussions-and-author-events)
            book sales (/special-series/book-sales)
            Bubbler (/calendar/bubbler)
            film showings (/calendar/film)
            kid and family events (/calendar/families)
            teen events (/calendar/teen)
            Wisconsin Book Festival (http://www.wisconsinbookfestival.org/)
            see the calendar (/events/calendar)


            LIBRARY NEWS (/new)
            libraries in the news     (/about/news)

            SPECIAL COLLECTIONS (/collections)
            audiobooks (/reading-and-viewing/audiobooks)
            book club kits (/reading-and-viewing/kits)
            databases (/resources/eresources?rtype[1]=1)
            eBooks (/reading-and-viewing/ebooks)
            fiction and nonfiction (/reading-and-viewing/books)
            too good to miss (/collections/too-good-to-miss)
            yahara music library (/collections/yahara-music-library)
            all special collections (/collections)

https://www.madisonpubliclibrary.org/new/madison-public-library-closing-response-covid-19                               4/5
3/18/2020                            Madison Public Library
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            KIDS AND FAMILIES (/kids)
            events and classes (/calendar/families)
            books for every age (/reading-and-viewing/book-lists/kids)
            educators (/kids/educators)
            parents (/kids/parents)


            TEENS (/teens)
            teen reads (/teens/teen-reads)
            events and classes (/calendar/teen)
            great books (/teens/books)


            CONTACT US (/about/contact-us)
            library card questions (/linkcat/ask-a-question)
            research questions (/resources/ask)
            library management (/about/contact-us)
            problem with this page? (/problem-page)


            ABOUT THE LIBRARY (/about)
            borrowing policies (/policies/check-out-policies)
            hours and locations (/locations)
            library board (/about/library-board)
            policies (/policies)
            mission and vision (/about/mission-and-vision)
            services and collections (/services-collections)
            impact stories (/impact)
            work at the library (/about/jobs)
            holiday closings (/events/holiday-closings)


            DISCOVER YOUR LIBRARY (/research)
            get a library card (/library-cards/get-a-card)
            research a topic (/research)
            business services (/business)
            educators (/educators)




https://www.madisonpubliclibrary.org/new/madison-public-library-closing-response-covid-19                               5/5
